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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


CAPITAL FINANCE, LLC; and CAPITAL
FUNDING, LLC,

                Plaintiffs,

v.                                                          C.A. No. 1:18-cv-10172-RWZ

22 MAPLE STREET, LLC; 25 ORIOL DRIVE,
LLC; 59 COOLIDGE ROAD, LLC; 20
KINMONTH ROAD, LLC; WABAN HEALTH
CENTER, LLC; MERRIMACK VALLEY
HEALTH CENTER, LLC; WATERTOWN
HEALTH CENTER, LLC; and WORCESTER
HEALTH CENTER, LLC,

                Defendants.


DEFENDANTS' WABAN HEALTH CENTER, LLC, MERRIMACK VALLEY HEALTH
   CENTER, LLC, WATERTOWN HEALTH CENTER, LLC, AND WORCESTER
  HEALTH CENTER, LLC’S ANSWER TO PLAINTIFFS' VERIFIED COMPLAINT
            AND REQUEST FOR APPOINTMENT OF RECEIVER

        Defendants, Waban Health Center, LLC, Merrimack Valley Health Center, LLC,

Watertown Health Center, LLC, and Worcester Health Center, LLC (collectively, the

“Defendants”) 1, respond to each and every allegation of Plaintiffs Capital Finance, LLC and

Capital Funding, LLC’s (“Plaintiffs”) Verified Complaint and Request for Appointment of

Receiver (the “Complaint”), as follows:

                                       NATURE OF THE CASE

        1.      Plaintiffs’ Complaint includes an introduction that summarizes allegations and

asserts legal conclusions and requests for relief that do not require a response. To the extent that

a response is required, Defendants deny all claims and relief requested.
1
 Defendants note that this case has been stayed against 22 Maple Street, LLC, 25 Oriol Drive, LLC, 59 Coolidge
Road, LLC, and 20 Kinmonth Road, LLC pursuant to the previously-filed Suggestions of Bankruptcy.




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       2.      The pleadings and orders filed in the receivership action captioned Oxford

Finance LLC v. 90 West Street LLC and Woodbriar Health Center LLC, Case No. 1781CV03295

(the “Woodbriar Receivership”), speak for themselves. Defendants deny any relevance or

materiality of the Woondbriar Receivership to the pending action.

                                            PARTIES

       3.      Defendants lack sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 3 of Plaintiffs’ Complaint regarding Capital Finance, LLC’s

corporate structure. All remaining allegations are admitted.

       4.       Defendants lack sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 4 of Plaintiffs’ Complaint regarding Capital Funding, LLC’s

corporate structure. All remaining allegations are admitted.

       5.      Admitted.

       6.      Admitted.

       7.      Admitted.

       8.      Admitted.

       9.      Admitted.

       10.     Admitted.

       11.     Admitted.

       12.     Admitted.

       13.     Denied.

                                 JURISDICTION AND VENUE

       14.     Paragraph 14 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent that a response is required, the United States District Court for



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the District of Massachusetts has jurisdiction to hear this case following the timely removal of

this action and under diversity of citizenship.

       15.     Paragraph 15 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent that a response is required, Defendants admit that there is

personal jurisdiction over Defendants.

       16.     Paragraph 16 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent that a response is required, this allegation is moot now that

the case has been removed to federal court.

       17.     Paragraph 17 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent that a response is required, admitted.

                                  FACTUAL BACKGROUND

A. The Mortgage Loan

       18.     The Loan Agreement dated March 4, 2014, the First Amendment to the Credit

Security Agreement dated June 30, 2014 and the Second Amendment to the Loan Agreement

dated July 21, 2014 speak for themselves. To the extent this paragraph characterizes the terms of

these written instruments, Defendants deny any mischaracterization.

       19.     Admitted.

       20.     Admitted.

       21.     Paragraph 21 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent a response is required, the Mortgage Loan Agreement speaks

for itself. To the extent this paragraph characterizes the terms of these written instruments,

Defendants deny any mischaracterization.




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       22.     The mortgage and security agreements and the financing statements referred to in

Paragraph 22 of Plaintiffs’ Complaint speak for themselves. To the extent this paragraph

characterizes the terms of these written instruments, Defendants deny any mischaracterization.

       23.     The Guaranty Agreement dated March 4, 2014 referred to in Paragraph 23 of

Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes the terms of this

written instrument, Defendants deny any mischaracterization.

B.     The AR Loan.

       24.     Admitted.

       25.     The Credit and Security Agreement dated March 28, 2014 and the First

Amendment to the Credit and Security Agreement dated July 22, 2014 speak for themselves. To

the extent this paragraph characterizes the terms of the written instruments, Defendants deny any

mischaracterization.

       26.     The Credit and Security Agreement and the First Amendment to the Credit and

Security Agreement and the terms therein speak for themselves. To the extent this paragraph

characterizes the terms of the written instruments, Defendants deny any mischaracterization.

       27.     Paragraph 27 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent a response is required, the financing statements referred to in

Paragraph 27 of Plaintiffs’ Complaint speak for themselves.

       28.     The Guaranty Agreements dated March 28, 2014 referred to in Paragraph 28 of

Plaintiffs’ Complaint speak for themselves. To the extent this paragraph characterizes the terms

of these written instruments, Defendants deny any mischaracterization.

       29.     The Billing and Human Resources Consulting Agreement referred to in Paragraph

29 of Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes the terms



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of this agreement, Defendants deny any mischaracterization. Further answering, Defendants

deny that Synergy Health Centers, LLC is involved with the management and operation of the

four nursing home facilities.

C.     Lien Priority.

       30.     The Intercreditor Agreement dated March 28, 2014 referred to in Paragraph 30 of

Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes the terms of this

agreement, Defendants deny any mischaracterization.

       31.     Paragraph 31 of Plaintiffs’ Complaint states a legal conclusion to which no

response is required. To the extent a response is required, record chain of title to the Defendants’

properties demonstrates priority.

D.     The First Forbearance Agreements.

       32.     Denied.

       33.     The Forebearance Agreement dated February 12, 2016 referred to in Paragraph 33

of the Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes the terms

of this written instrument, Defendants deny any mischaracterization.

       34.     The Forebearance Agreement dated February 12, 2016 referred to in Paragraph 34

of the Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes the terms

of this written instrument, Defendants deny any mischaracterization.

       35.     The Forebearance Agreements referred to in Paragraph 35 of the Plaintiffs’

Complaint speak for themselves. To the extent this paragraph characterizes the terms of these

written instruments, Defendants deny any mischaracterization.

       36.     Denied.

E.     The Second Forebearance Agreements.



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       37.     Defendants lack sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 37 of Plaintiffs’ Complaint regarding Plaintiffs’ alleged

discoveries.

       38.     Denied.

       39.     The forebearance agreements referred to in Paragraph 39 of the Plaintiffs’

Complaint speak for themselves. To the extent this paragraph characterizes the terms of these

written instruments, Defendants deny any mischaracterization.

       40.     The forebearance agreements referred to in Paragraph 40 of the Plaintiffs’

Complaint speak for themselves. To the extent this paragraph characterizes the terms of these

written instruments, Defendants deny any mischaracterization.

       41.     The forebearance agreements referred to in Paragraph 41 of the Plaintiffs’

Complaint speak for themselves. To the extent this paragraph characterizes the terms of these

written instruments, Defendants deny any mischaracterization.

       42.     Denied.

       43.     The letters dated September 20, 2017, November 3, 2017 and November 20, 2017

referred to in Paragraph 43 of Plaintiffs’ Complaint speak for themselves. To the extent this

paragraph characterizes these letters or the statements therein, Defendants deny any

mischaracterization.

       44.     The letters dated September 20, 2017, November 3, 2017 and November 21, 2017

referred to in Paragraph 44 of Plaintiffs’ Complaint speak for themselves. To the extent this

paragraph characterizes these letters or the statements therein, Defendants deny any

mischaracterization.




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F.     Amounts Due and Owing to Agents

       45.     The letter dated December 1, 2017 referred to in Paragraph 45 of Plaintiffs’

Complaint speaks for itself. To the extent this paragraph characterizes this letter or the

statements therein, Defendants deny any mischaracterization. Defendants admit that the

mortgage loan has not yet been paid in full.

       46.     Defendants admit that certain sums are due and payable under the mortgage loan

agreement. Defendants are without knowledge or information sufficient to respond to Plaintiffs’

allegation regarding the amount due, interest charges, late fees, other charges, expenses, costs

and fees and therefore deny the same.

       47.     Defendants lack sufficient knowledge or information to admit or deny all

allegations contained in Paragraph 47 of Plaintiffs’ Complaint and therefore deny the same.

       48.     The agreement executed on January 5, 2018 referred to in Paragraph 48 of

Plaintiffs’ Complaint speaks for itself. To the extent this paragraph characterizes this agreement

or the terms therein, Defendants deny any mischaracterization.

       49.     Defendants are without knowledge or information sufficient to respond to all of

Plaintiffs’ allegations and therefore deny the same.

G.     Threats to Defendants’ Operations.

       50.     Denied.

       51.     The letters dated October 20, 2017 and November 7, 2017 referred to in

Paragraph 51 of Plaintiffs’ Complaint speak for themselves. To the extent this paragraph

characterizes these letters or the statements therein, Defendants deny any mischaracterization.

Defendants deny the remaining allegations of Paragraph 51 of Plaintiffs’ Complaint.




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       52.     The lawsuits referred to in Paragraph 52 of Plaintiffs’ Complaint speak for

themselves. To the extent this paragraph characterizes these proceedings or the relief sought

therein, Defendants deny any mischaracterization.

       53.     The letter from the Commonwealth of Massachusetts Executive Office of Health

and Human Services dated September 18, 2017 referred to in Paragraph 53 of Plaintiffs’

Complaint speaks for itself. To the extent this paragraph characterizes this letter or the

statements therein, Defendants deny any mischaracterization. Defendants deny the remaining

allegations of Paragraph 53 concerning the amount of bed taxes due and owing.

       54.     Denied.

       55.     Denied.

H.     Appointment of Receiver.

       56.     The mortgage loan agreements referred to in Paragraph 56 of the Plaintiffs’

Complaint speak for themselves. To the extent this paragraph characterizes these written

instruments, Defendants deny any mischaracterization.

       57.     Denied.

              COUNT I – BREACH OF CONTRACT (MORTGAGE LOAN)

       58.     Defendants incorporate by reference their responses to Paragraphs 1 through 57 of

Plaintiffs’ Complaint.

       59.     The notes and loan documents referred to in Paragraph 59 of Plaintiffs’ Complaint

speak for themselves. To the extent this paragraph characterizes the terms of these written

instruments, Defendants deny any mischaracterization.

       60.     Denied.

       61.     Denied.



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                    COUNT II – BREACH OF CONTRACT (AR LOAN)

       62.     Defendants incorporate by reference their responses to Paragraphs 1 through 61 of

Plaintiffs’ Complaint.

       63.     The loan and security documents referred to in Paragraph 63 speak for

themselves. To the extent this paragraph characterizes the terms of these written instruments,

Defendants deny any mischaracterization.

       64.     Denied.

                         COUNT III – APPOINTMENT OF RECEIVER

       65.      Defendants incorporate by reference their responses to Paragraphs 1 through 64

of Plaintiffs’ Complaint.

       66.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       67.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       68.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       69.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.




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       70.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       71.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       72.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

       73.     This allegation is moot due to the fact that the Court has already appointed a

receiver and requires no response. To the extent a response is required or permitted, Defendants

deny the need or justification for a court appointed receiver.

                  RESPONSE TO PLAINTIFFS’ REQUEST FOR RELIEF

       Defendants deny that Plaintiffs are entitled to any of the relief requested in Paragraphs (a)

 through (e) of Plaintiffs’ Request for Relief.

                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       Defendants affirmatively plead that the appointment of a Receiver is not necessary and

not within the best interests of the nursing home facilities, their residents, and the properties.

                             SECOND AFFIRMATIVE DEFENSE

       Defendants reserve their right to assert any and all additional and non-waivable

affirmative defenses.




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                                                   Respectfully submitted,

                                                   WABAN HEALTH CENTER, LLC;
                                                   MERRIMACK VALLEY HEALTH
                                                   CENTER, LLC; WATERTOWN HEALTH
                                                   CENTER, LLC; and WORCESTER HEALTH
                                                   CENTER, LLC,

                                                   By Their Attorneys,


                                                   /s/ Samuel C. Bodurtha
                                                   Samuel C. Bodurtha, BBO #665755
                                                   Ethan Z. Tieger, BBO #691219
                                                   HINSHAW & CULBERTSON LLP
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                                                   617-213-7000
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                                                   sbodurtha@hinshawlaw.com
                                                   etieger@hinshawlaw.com

Dated:      April 6, 2018



                                CERTIFICATE OF SERVICE

        I, Samuel C. Bodurtha, hereby certify that the documents filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as nonregistered participants on
April 6, 2018.

                                                   /s/ Samuel C. Bodurtha
                                                   Samuel C. Bodurtha




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